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                                 Exhibit C
 Case 3:14-cv-00852-REP-AWA-BMK Document 50-3 Filed 04/21/15 Page 2 of 7 PageID# 432




From:                         Matthew James <DelMJames@house.virginia.gov>
Sent:                         Tuesday, April 07, 2015 2:42 PM
To:                           Walrath, Jennifer M.
Cc:                           RSpear@perkinscoie.com; Braden, E. Mark
Subject:                      Bethune-Hill v. Virginia State Board of Elections, et al. - Waiver
Attachments:                  SKMBT_C45415040714220.pdf; ATT00001.htm




Ms. Walrath:

Please find attached a waiver signed by Delegate Matthew James pursuant to the above‐referenced matter.

Thank you.

Kim Rollins
Office of Delegate Matthew James
P.O. Box 7487
Portsmouth, VA 23707
(757) 967‐7583 ‐ office




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      3:14-cv-00852-REP-GBL-BMK Document
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                                      362
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From:                                          Jennifer L McClellan <DelJMcClellan@house.virginia.gov>
Sent:                                          Tuesday, April 07, 2015 2:24 AM
To:                                            Walrath, Jennifer M.
Cc:                                            Braden, E. Mark; Spear, Ryan M. (Perkins Coie) (RSpear@perkinscoie.com)
Subject:                                       Re: Bethune-Hill, et al. v. Virginia Board of Elections, et al., No. 3:14-cv-000852-REP-
                                               GBL-BMK



I waive any legislative privilege with respect to my email communications responsive to the discovery
request referenced in your letter of April 1, 2015 in the above referenced case. I also request that
Intervenors' counsel provide me with a copy of any emails to or from me deemed responsive so far.

Sincerely,

Jennifer L. McClellan
Virginia House of Delegates
71st District
(804) 698-1171

From: Walrath, Jennifer M. <jwalrath@bakerlaw.com>
Sent: Wednesday, April 01, 2015 12:15 PM
To: Jennifer L McClellan
Cc: Braden, E. Mark; Spear, Ryan M. (Perkins Coie) (RSpear@perkinscoie.com)
Subject: Bethune‐Hill, et al. v. Virginia Board of Elections, et al., No. 3:14‐cv‐000852‐REP‐GBL‐BMK

Delegate McClellan,

Please see the attached correspondence concerning the above-referenced matter.

Regards,
Jennifer


Jennifer Walrath | BakerHostetler
Washington Square | 1050 Connecticut Avenue, N.W., Suite 1100 | Washington, D.C. 20036-5304
T 202.861.1702 | F 202.861.1783
jwalrath@bakerlaw.com




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destroyed, arrive late or incomplete, or contain viruses. Therefore,
we do not accept responsibility for any errors or omissions that are

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present in this email, or any attachment, that have arisen as a result
of e-mail transmission.




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From:                      Mark Sickles <markdsickles@gmail.com>
Sent:                      Tuesday, April 07, 2015 3:19 PM
To:                        Walrath, Jennifer M.; rspear@perkinscoie.com
Subject:                   waiver




To Whom it May Concern:

I am writing to inform you that I am waiving legislative privilege with respect to my email
communications about the 2011 House of Delegates redistricting. Please contact my assistant James
Heo if you have further questions.

Best,

Mark Sickles

James Heo
Legislative Assistant
Delegate Mark Sickles (D-Franconia)
Mobile: (760) 533-7262
Richmond: (804) 698-1043
District: (703) 922-6440
Fax: (703) 922-6880
info@marksickles.com
www.MarkSickles.com
Follow Delegate Sickles on Facebook and Twitter




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